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                                                                                                        EXHIBIT B


    DISTRICT COURT, MESA COUNTY, COLORADO
    Court Address:
    MESA COUNTY JUSTICE CENTER, 125 NORTH SPRUCE STREET, GRAND
    JUNCTION, CO, 81501                                 DATE FILED: August 5, 2020 10:32 AM
                                                        CASE NUMBER: 2018CV50
    Plaintiff(s) ALYSSA-CHRYSTIE MONTALBANO
    v.
    Defendant(s) JAMES COREY GOODE


                                                                                                 COURT USE ONLY
                                                                                     Case Number: 2018CV50
                                                                                     Division: 10      Courtroom:

                                Order:Motion for Attorneys' Fees and Request for Hearing

    The motion/proposed order attached hereto: GRANTED.

    Having considered Plaintiff's objection, I find a hearing to be unnecessary. Therefore, the motion is granted and a judgment
    against Plaintiff and in favor of Defendant enters in the amount of $116,600.

    Issue Date: 8/5/2020




    BRIAN JAMES FLYNN
    District Court Judge




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